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11   RON BENDER (SBN 143364)
     KRIKOR J. MESHEFEJIAN (SBN 255030)
22   LINDSEY L. SMITH (SBN 265401)                        FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
     2818 La Cienega Avenue
44   Los Angeles, California 90034                             AUG 25 2022
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
66   Attorneys for Chapter 11 Debtors and Debtors in Possession
                                                                         BY bolte      DEPUTY CLERK



77
                               UNITED STATES BANKRUPTCY COURT
88                              CENTRAL DISTRICT OF CALIFORNIA
                                      SANTA ANA DIVISION
99
     In re:                                         Lead Case No.: 8:22-bk-10948-SC
10
10
     TRX HOLDCO, LLC, a Delaware limited            Jointly administered with:
11
11   liability company,                             8:22-bk-10949-SC
                                                    Chapter 11 Cases
12
12
             Debtor and Debtor in Possession.
13
13   ____________________________________           ORDER GRANTING DEBTORS’ MOTION
     In re:                                         FOR AN ORDER: (1) APPROVING SALE
14
14                                                  OF SUBSTANTIALLY ALL OF THE
     FITNESS ANYWHERE LLC, a Delaware               DEBTORS’ ASSETS FREE AND CLEAR
15
15   limited liability company, dba TRX and TRX     OF    CERTAIN    LIENS,    CLAIMS,
16   Training,                                      INTERESTS AND ENCUMBRANCES; (2)
16
                                                    APPROVING     ASSUMPTION      AND
17
17           Debtor and Debtor in Possession.       ASSIGNMENT OF UNEXPIRED LEASES
     ____________________________________           AND EXECUTORY CONTRACTS AND
18
18                                                  DETERMINING CURE AMOUNTS, AND
                                                    APPROVING       REJECTION      OF
19
19      Affects both Debtors                        UNEXPIRED LEASES AND EXECUTORY
20                                                  CONTRACTS     WHICH     ARE   NOT
20
       Affects TRX Holdco, LLC only                 ASSUMED; (3) WAIVING THE 14-DAY
21
21                                                  STAY PERIODS OF BANKRUPTCY
        Affects Fitness Anywhere, LLC only          RULES 6004(h) AND 6006(d); AND (4)
22
22                                                  GRANTING      RELATED      RELIEF;
                                                    MEMORANDUM OF POINTS AND
23
23                                                  AUTHORITIES
24
24
                                                    Date: August 18, 2022
25
25                                                  Time: 10:00 a.m.
                                                    Place: *Via ZoomGov
26
26                                                         Courtroom 5C
                                                           411 West Fourth Street
27
27                                                         Santa Ana, CA 92701
28
28


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11          On August 18, 2022, at 10:00 a.m., the Court held a hearing (the “Sale Hearing”) to

22   consider approval of the motion (“Sale Motion”) (Doc 205) filed by TRX Holdco, LLC (“Hold

33   Co”) and Fitness Anywhere LLC, dba TRX and TRX Training (“Product Co” and together with

44   Hold Co and Product Co, the “Debtors”), the debtors and debtors-in-possession in the above-

55   captioned, jointly-administered Chapter 11 bankruptcy cases, seeking the entry of an order of the

66   Court approving the Debtors’ sale of substantially all of their right, title and interest in and to the

77   assets designated as purchased assets (the “Purchased Assets”) free and clear of all liens, claims,

88   encumbrances and other interests (“Encumbrances”) other than as expressly set forth herein to

99   the winning bidder and the winning back up bidder at the auction held on August 17, 2022
10
10   (“Auction”), in accordance with the terms of an Asset Purchase Agreement (“APA”) to be
11
11   negotiated and executed between the Debtors and the winning bidder (and between the Debtors
12
12   and the winning backup bidder if the winning bidder fails to consummate its purchase of the
13
13   Purchased Assets).
14
14          At a hearing held on July 20, 2022, the Court granted the Debtors’ amended bid
15
15   procedures motion by entry of that certain Order Granting Debtors’ Motion For Entry Of Order
16
16   Modifying Bidding Procedures Previously Approved By The Court For Free And Clear Sale Of
17
17   Assets And Granting Related Relief (the “Bid Procedures Order”) (Doc 182) entered on July 20,
18
18   2022. The Bid Procedures Order was consented to by the Debtors, Woodforest National Bank
19
19   (“WNB”) and the Official Committee of Unsecured Creditors (“Committee”).                     The Bid
20
20   Procedures Order set forth procedures with respect to how a prospective bidder could become
21
21   qualified to participate in the Auction and how the Auction would proceed in the event there was
22
22   more than one qualified bidder.
23
23          In accordance with the Bid Procedures Order, the Debtors conducted the Auction on
24
24   August 17, 2022. Three qualified bidders besides WNB participated in the Auction, and WNB
25
25   participated in the Auction as a qualified bidder with credit bidding rights as set forth in the Bid
26
26   Procedures Order.     JFXD Capital LLC, a Florida limited liability company (the “Winning
27
27   Bidder”), was the winning bidder at the Auction with a cash purchase price of Eight Million Four
28
28   Hundred Thousand Dollars ($8,400,000.00) (the “Purchase Price”) to be funded in the manner


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11   set forth in this Order. The Debtors, in consultation with WNB and the Committee, determined

22   that the Purchase Price submitted by the Winning Bidder was the highest and best bid submitted

33   at the Auction and should be approved by this Court.

44          The Debtors determined, in consultation with WNB and the Committee that Thor-TRX,

55   LLC, a Delaware limited liability company (the “Winning Back-Up Bidder”), which submitted a

66   cash offer in the amount of Eight Million Three Hundred Thousand Dollars ($8,300,000.00)

77   submitted the second highest and best bid at the Auction and was designated the Winning Back-

88   Up Bidder in accordance with the terms of the Bid Procedures Order.

99          The Court, having considered the: (1) Sale Motion; (2) Declaration Of Brent Leffel (Doc
10
10   206) filed in support of the Sale Motion; (3) Declaration Of Joshua K. Benn (Doc 207) filed in
11
11   support of the Sale Motion, (4) Declaration of Mark Reis (Doc 211) filed in support of the Sale
12
12   Motion, (5) Notice of Hearing (“Sale Notice”) (Doc 209) on the Sale Motion; (6) Notice of Sale
13
13   Of Estate Property (Doc 208), (7) Notice Of: (1) Assumption And Assignment Of Executory
14
14   Contracts And Unexpired Leases; (2) Establishment Of Cure Amount In Connection Therewith;
15
15   (3) Procedures And Deadlines Regarding Oppositions To Assumption And Assignment, And
16
16   Cure Amounts; And (4) Hearing Thereon (the “Assumption/Assignment And Cure Notice”)
17
17   (Doc 213), (8) all other pleadings and papers filed in support of the Sale Motion, (9) Limited
18
18   Opposition To Debtors’ Motion To Approve Sale Of Substantially All Assets (Doc 238), Limited
19
19   Opposition (Doc 239) to the Assumption/Assignment And Cure Notice, and Supplemental
20
20   Declaration Of Brian Ausmus (Doc 262) (collectively, the “TMA Opposition”) filed by TMA
21
21   Worldwide, Inc. (“TMA”); (10) the Limited Objection And Reservation Of Rights (the “Oracle
22
22   Opposition”) (Doc 242) filed by Oracle America, Inc. (“Oracle”); and (11) Omnibus Reply (Doc
23
23   257) filed by the Debtors to the TMA Opposition and Oracle Opposition; and the statements,
24
24   arguments and representations of the parties made at the Sale Hearing; and the entire record of
25
25   these cases; and the Court, having determined that the relief sought in the Sale Motion is in the best
26
26   interests of the Debtors and their estates, and that the legal and factual bases set forth in the Sale
27
27   Motion and presented at the Sale Hearing establish just cause for the relief granted herein; and all
28
28   objections to the Sale Motion, if any, having been withdrawn or overruled; and after due


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11   deliberation and sufficient good cause appearing therefor,

22          THE COURT HEREBY FINDS AND CONCLUDES THAT:

33          A.      Findings and Conclusions. The findings and conclusions set forth herein

44   constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

55   made applicable to this proceeding pursuant to Bankruptcy Rule 9014.

66          B.      Jurisdiction and Venue.      The Bankruptcy Court has jurisdiction to hear and

77   determine the Sale Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter relates to the

88   administration of the Debtors’ bankruptcy estates and is accordingly a core proceeding pursuant

99   to 28 U.S.C. § 157(b) (2) (A), (M), (N) and (O). Venue of these cases is proper in this District
10
10   and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.
11
11          C.      Statutory Predicates. The statutory predicates for the relief requested in the Sale
12
12   Motion are (i) Sections 105(a) and 363(b), (f), (k), (l) and (m), 365 of Title 11 of the United
13
13   States Code (the “Bankruptcy Code”), (ii) Rules 2002(a)(2), 2002(c)(1) and (d), 6004 (a), (b),
14
14   (c), (e), (f) and (h), 6006(a), (c) and (d), 9006, 9007, 9013 and 9014 of the Federal Rules of
15
15   Bankruptcy Procedure (the “Bankruptcy Rules”), and (iii) Local Bankruptcy Local Rules 6004-1
16
16   and 9013-1.
17
17          D.      Notice. The Debtors have provided good and sufficient notice with respect to the
18
18   following: (i) the Sale Motion and the relief sought therein, including the entry of this Order and
19
19   the transfer and purchase of the Purchased Assets; (ii) the Auction and the Sale Hearing; (iii) the
20
20   selection of the Winning Bidder and the Winning Back-up Bidder; (iv) the assumption and
21
21   assignment of executory contracts and unexpired leases and proposed cure amounts owing under
22
22   such executory contracts and unexpired leases (“Cure Amounts”). No further notice of the Sale
23
23   Motion, the relief requested therein or the Sale Hearing is required. The Notice Of Court-
24
24   Approved Amended Bidding Procedures, Opportunity To Bid On Assets And Auction Schedule
25
25   (the “Bidding Procedures And Auction Notice”) (Doc 181), the Sale Notice, the
26
26   Assumption/Assignment And Cure Notice, and the notice provided by the Debtors of the Cure
27
27   Costs, the Auction, and the hearing to approve the sale of the Purchased Assets were in
28
28   accordance with the Bid Procedures Order, and were appropriate and reasonable and calculated


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11   to provide all interested parties with timely and proper notice and no other or further notice is

22   required. Such notice was proper under the Bankruptcy Code, Bankruptcy Rules and Local

33   Rules. A reasonable opportunity to object and to be heard regarding the relief provided herein

44   has been afforded to all parties-in-interest.

55          E.      Compliance with the Bid Procedures Order. The sale process and Auction were

66   conducted in accordance with and otherwise in compliance with the Bid Procedures Order and

77   were fair, proper and reasonably calculated to result in the best value received for the Purchased

88   Assets. The Auction process afforded a full, fair and reasonable opportunity for any party to

99   become a qualified bidder and to participate in the Auction. As demonstrated on the record at
10
10   the Sale Hearing, the Debtors have conducted the Auction process in good faith, without
11
11   collusion and in accordance with the Bid Procedures Order.
12
12          F.      Highest and Best Bid. The bid of the Winning Bidder constitutes the highest or
13
13   otherwise best offer for the Purchased Assets, and will provide a greater recovery for the
14
14   Debtors’ estates than would be provided by any other available alternative. The Debtors’
15
15   determination that the Winning Bidder made the highest or otherwise best offer for the
16
16   Purchased Assets constitutes a reasonable, valid and sound exercise of the Debtors’ business
17
17   judgment, and is in the best interests of the Debtors and their estates. The consideration to be
18
18   paid by the Winning Bidder for the Purchased Assets is fair and reasonable, is the highest or
19
19   otherwise best offer therefor, and constitutes reasonably equivalent value and fair consideration
20
20   under the Bankruptcy Code, the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent
21
21   Transfer Act, and the laws of the United States. The Winning Back-Up Bidder made the second
22
22   highest and best offer for the Purchased Assets.1
23
23          G.      Arm’s Length Transaction. The sale of the Purchased Assets to the Winning
24
24   Bidder (the “Transaction”) [substantially in conformance with the terms of the APA filed as
25
25   Docket No. 277] and the consummation thereof were negotiated and entered into by the Debtors
26
26   and the Winning Bidder without collusion, in good faith and through an arms’ length bargaining
27
27   1
       This Order may be appropriately revised by subsequent order if the back-up bidder is the
28
28   ultimate buyer pursuant to the terms of the Back-Up APA.



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11   process. None of the Debtors, the Winning Bidder, or their respective representatives engaged in

22   any conduct that would cause or permit the Transaction to be avoided under section 363(n) of the

33   Bankruptcy Code, or have acted in any improper or collusive manner. The terms and conditions

44   of the Transaction, including, without limitation, the consideration provided in respect thereof,

55   are fair and reasonable, and are not avoidable and shall not be avoided, and no damages may be

66   assessed against the Winning Bidder or any other party, as set forth in section 363(n) of the

77   Bankruptcy Code.

88          H.      Good Faith Purchaser. The Winning Bidder has proceeded in good faith and

99   without collusion in all respects in connection with the sale process, and is therefore entitled to
10
10   all of the benefits and protections provided to a good-faith purchaser under section 363(m) of the
11
11   Bankruptcy Code. Accordingly, the reversal or modification on appeal of the authorization
12
12   provided herein to consummate the Transaction shall not affect the validity of the Transaction or
13
13   the Winning Bidder’s status as a “good faith” purchaser.
14
14          I.      No Successor Liability. The Winning Bidder is not a successor to the Debtors or
15
15   their bankruptcy estates nor shall be deemed to be a mere continuation of any of the Debtors’
16
16   operations by any reason or theory of law or equity, and the Winning Bidder shall not be subject
17
17   to successor liability for any assets sold or claims that arose or could have been asserted prior to
18
18   the closing of the Transaction (the “Closing”).
19
19          J.      Authority to Consummate the Sale of the Purchased Assets. The Debtors have
20
20   full corporate power and authority to execute the APA (including all ancillary documents
21
21   executed in connection therewith), and the sale of the Purchased Assets have been duly and
22
22   validly authorized by all necessary corporate authority by the Debtors to consummate the sale of
23
23   the Purchased Assets to the Winning Bidder. No consents or approvals, other than as may be
24
24   expressly provided for in the APA, are required by the Debtors to consummate such sale of the
25
25   Purchased Assets.
26
26          K.      Justification for Relief. Good and sufficient reasons for approval of the
27
27   Transaction have been articulated to the Bankruptcy Court in the Sale Motion and at the Sale
28
28   Hearing, and the relief requested in the Sale Motion and set forth in this Order is in the best


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11   interests of the Debtors and their estates. The Debtors have demonstrated through the Sale

22   Motion and other evidence submitted by the Debtors both (i) good, sufficient and sound business

33   purpose and justification and (ii) compelling circumstances for the transfer and sale of the

44   Purchased Assets outside the ordinary course of business, and such action is an appropriate

55   exercise of the Debtors’ business judgment and in the best interests of the Debtors and their

66   estates.

77              L.   Free and Clear. In accordance with sections 363(b) and 363(f) of the Bankruptcy

88   Code, the consummation of the Transaction pursuant to the Transaction Documents will be a

99   legal, valid, and effective transfer and sale of the Purchased Assets and will vest in the Winning
10
10   Bidder, all of the Debtors’ right, title, and interest in and to the Purchased Assets, free and clear
11
11   of all Encumbrances, subject to the provisions of Paragraph 6 below.             The Debtors have
12
12   demonstrated that one or more of the standards set forth in section 363(f)(1)-(5) of the
13
13   Bankruptcy Code have been satisfied. As set forth in Paragraph 6 below, the Purchased Assets
14
14   shall be transferred to the Winning Bidder at the Closing subject to all valid, perfected and
15
15   enforceable possessory liens (“Possessory Liens”), with the ones being held by TMA
16
16   Worldwide, Flexport, Sunrise Nationwide, McCollister’s, USA - FH Fitness Anywhere (USA
17
17   Global Logistics LLC) constituting the only Possessory Liens that the Debtors are aware of
18
18   (collectively, the “Possessory Lienholders”).
19
19              M.   Prompt Consummation. The Debtors have demonstrated good and sufficient
20
20   cause to waive the stay requirement under Bankruptcy Rules 6004(h) and 6006(d). Time is of
21
21   the essence in consummating the Transaction, and it is in the best interests of the Debtors and
22
22   their estates to consummate the Transaction within the timeline set forth in the Sale Motion and
23
23   the Bid Procedures Order, which provide for the Closing to occur by August 26, 2022 unless the
24
24   Winning Bidder and the Debtors mutually agree to an extension of that date.
25
25              N.   Assumption of Executory Contracts and Unexpired Leases. The Debtors have
26
26   demonstrated that it is an exercise of their sound business judgment to assume and assign,
27
27   subject to the provisions hereof, to the Winning Bidder those executory contracts and unexpired
28
28   leases designated by the Winning Bidder either prior to the Closing or during the Designation


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11   Rights Period (as defined in Paragraph 18 below) (the “Assigned Contracts”) in connection with

22   the consummation of the Transaction, and the Debtors’ assumption and assignment to the

33   Winning Bidder of the Assigned Contracts is in the best interests of the Debtors and their estates.

44          O.      Cure/Adequate Assurance. Through the payments to be made by the Winning

55   Bidder at the Closing or prior to the expiration of the Designation Rights Period (as defined in

66   Paragraph 18 below), as the case may be, the Winning Bidder will have cured, or will have

77   provided adequate assurance of cure, of any default existing under any of the Assigned

88   Contracts, within the meaning of 11 U.S.C. § 365(b)(1)(A), by payment of the amounts and in

99   the manner set forth below.      The Winning Bidder has provided or will provide adequate
10
10   assurance of future performance of and under the Assigned Contracts within the meaning of 11
11
11   U.S.C. § 365(b)(1)(C). Pursuant to 11 U.S.C. § 365(f), the Assigned Contracts to be assumed by
12
12   the Debtors and assigned to the Winning Bidder under the APA shall be assigned and transferred
13
13   to, and remain in full force and effect for the benefit of, the Winning Bidder notwithstanding any
14
14   provision in any such Assigned Contract prohibiting their assignment or transfer. The Debtors
15
15   have demonstrated that no other parties to any of the Assigned Contracts have incurred any
16
16   actual pecuniary loss resulting from a default prior to the Closing under any of the Assigned
17
17   Contracts within the meaning of 11 U.S.C. § 365(b)(1)(B). Pursuant to 11 U.S.C. § 365(f), the
18
18   Assigned Contracts to be assumed by the Debtors and assigned to the Winning Bidder shall be
19
19   assigned and transferred to, and remain in full force and effect for the benefit of, the Winning
20
20   Bidder notwithstanding any provision in such contracts or other restrictions prohibiting their
21
21   assignment or transfer. Notwithstanding the foregoing, any executory contracts or unexpired
22
22   leases of Oracle or TMA shall not be deemed Assigned Contracts absent the consent of Oracle or
23
23   TMA, respectively, or a further order of this Court.
24
24          P.      Rejection of Executory Contracts and Unexpired Leases. The Debtors have
25
25   demonstrated that it is an exercise of their sound business judgment to reject all of their
26
26   executory contracts and unexpired leases which are not part of the Assigned Contracts effective
27
27   as of the Closing, subject only to that set forth in Paragraphs 18 and 19 below.
28
28


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11          Q.      Legal and Factual Basis. The legal and factual bases set forth in the Sale Motion

22   and at the Sale Hearing establish just cause for the relief granted herein.

33          R.      Findings and Conclusions. To the extent any of the foregoing findings of fact

44   constitute conclusions of law, they are adopted as such.

55          IT IS HEREBY ORDERED AS FOLLOWS:

66          1.      The Sale Motion is GRANTED as set forth herein. The sale of the Purchased

77   Assets to the Winning Bidder is approved upon the terms and conditions described at the

88   Auction and on the Court’s record at the Sale Hearing and as set forth in the APA.

99          2.      The Debtors are authorized to enter into the APA and to consummate the sale of
10
10   the Purchased Assets to the Winning Bidder in accordance with this Order. The final version of
11
11   the APA is subject to the approval of the Debtors, the Winning Bidder and the Bank, with the
12
12   Bankruptcy Court to be the arbiter to resolve any outstanding disputes.
13
13          3.      All objections and responses to the Sale Motion that have not previously been
14
14   overruled, withdrawn, waived, settled or resolved, and all reservations of rights included therein,
15
15   are hereby overruled and denied, provided, however that the TMA Opposition and the Oracle
16
16   Opposition are deemed resolved as otherwise set forth in this Order.
17
17          4.      The Winning Bidder’s offer for the Purchased Assets is the highest and best offer
18
18   for the Purchaser Assets and is hereby approved.
19
19          5.      Pursuant to sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy Code, the
20
20   Transaction, including the transfer and sale of the Purchased Assets to the Winning Bidder is
21
21   approved in all respects, and the Debtors are authorized and directed to consummate the Transaction
22
22   and enter into the APA, including, without limitation, by executing any Transaction Documents and
23
23   taking all actions necessary and appropriate to effectuate and consummate the Transaction (including
24
24   the transfer and sale of the Purchased Assets) in consideration of the Purchase Price, including,
25
25   without limitation, providing to the Winning Bidder the Designation Rights Assets (as defined in the
26
26   APA) and assuming and assigning to the Winning Bidder the Assigned Contracts. The Debtors and
27
27   the Winning Bidder shall have the right to make any mutually agreeable, non-material changes to the
28
28   APA which shall be in writing signed by both parties without further order of the Court.


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11           6.      The conditions of section 363(f) of the Bankruptcy Code have been satisfied in

22   full, provided, however, that any holders of Possessory Liens against any of the Purchased

33   Assets by the Possessory Lienholders shall retain such Possessory Liens with such Possessory

44   Liens having the same validity (or invalidity), priority and extent as such Possessory Liens had

55   as of the date of the Closing, and, subject to Paragraph 18 below, the Debtors’ sale of any

66   Purchased Assets which are encumbered by any such Possessory Liens shall be subject to all

77   such Possessory Liens. For the avoidance of doubt, any possessory liens of TMA shall remain in

88   full force and effect. Notwithstanding anything to the contrary contained herein, in the event that

99   the Winning Bidder cannot obtain a satisfactory release of the Possessory Liens, the Winning
10
10   Bidder shall not be obligated to take title to the Purchased Assets subject to such Possessory
11
11   Liens and shall have no obligation, responsibility or liability associated with such assets.
12
12           7.      Pursuant to sections 105, 363(b), 363(f) and 363(m) of the Bankruptcy Code, and
13
13   subject to Paragraph 6 of this Order, the Purchased Assets shall be sold and transferred free and
14
14   clear of all Encumbrances, except as otherwise provided in the APA, with any and all such
15
15   Encumbrances to attach to proceeds of the sale with the same validity (or invalidity), priority,
16
16   force and effect such Encumbrances had on the Purchased Assets immediately prior to the
17
17   Closing and subject to the rights, claims, defenses, and objections, if any, of the Debtors and all
18
18   interested parties with respect to any such asserted Encumbrances.
19
19           8.      As of the Closing, (i) the Transaction shall effect a legal, valid, enforceable and
20
20   effective transfer and sale of the Purchased Assets to the Winning Bidder free and clear of all
21
21   Encumbrances except for Possessory Liens, as set forth in the APA and Paragraph 6 of this Order; and
22
22   (ii) the APA, the Transaction and the other Transaction Documents shall be enforceable against and
23
23   binding upon, and not subject to rejection or avoidance by, any successor thereto including a trustee or
24
24   estate representative appointed in these cases, and all other persons and entities.
25
25           9.      For the avoidance of doubt, the Purchased Assets do not include any avoidance actions
26
26   under chapter 5 of the Bankruptcy Code or any claims, causes of action, choses of action, rights of
27
27   recovery (whether choate or inchoate, known or unknown, contingent or non-contingent), either direct
28
28   or derivative, including those that would expressly inure to the benefit of the creditors in these


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11   bankruptcy cases, including claims made against any former or current insiders, affiliates, officers or

22   directors, and to the extent applicable, insurance recoveries related in any way to such claims.

33           10.     This Order shall, as of the Closing, be considered and constitute for all purposes a full

44   and complete general assignment, conveyance, and transfer of the Purchased Assets and/or a bill of

55   sale transferring all of the Debtors’ rights, title and interest in and to the Purchased Assets to the

66   Winning Bidder. Consistent with, but not in limitation of the foregoing, each and every federal, state,

77   and local governmental agency or department is hereby authorized and directed to accept all

88   documents and instruments necessary and appropriate to consummate the transactions contemplated

99   by the APA and approved in this Order.
10
10           11.     The Winning Bidder shall not be deemed, as a result of any action taken in connection
11
11   with, or as a result of the Transaction (including the transfer and sale of the Purchased Assets), to: (i)
12
12   be a successor, continuation or alter ego (or other such similarly situated party) to the Debtors or their
13
13   estates by reason of any theory of law or equity, including, without limitation, any bulk sales law,
14
14   doctrine or theory of successor liability, or similar theory or basis of liability; or (ii) have, de facto or
15
15   otherwise, merged with or into the Debtors; or (iii) be a mere continuation, alter ego, or substantial
16
16   continuation of the Debtors, and other than as expressly set forth in the APA, the Winning Bidder
17
17   shall have no liability whatsoever for any conduct, action or inaction of the Debtors or with respect to
18
18   the Purchased Assets that arose prior to the Closing.
19
19           12.     This Order (i) shall be effective as a determination that, except as expressly set forth in
20
20   this Order or the APA, effective as of the Closing, all Encumbrances existing against the Purchased
21
21   Assets before the Closing (with the exception of Possessory Liens as set forth in Paragraph 6 hereof)
22
22   have been unconditionally released, discharged and terminated, and that the transfers and conveyances
23
23   described herein have been effected, and (ii) shall be binding upon and shall govern the acts of all
24
24   persons and entities. If any person or entity that has filed financing statements or other documents or
25
25   agreements evidencing any Encumbrances against the Purchased Assets (with the exception of
26
26   Possessory Liens as set forth in Paragraph 6) shall not have delivered to the Debtors before the
27
27   closing, in proper form for filing and executed by the appropriate parties, termination statements,
28
28   instruments of satisfaction, releases of all Encumbrances which the person or entity has with respect to


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11   the Purchased Assets, then the Winning Bidder is hereby authorized to execute and file such

22   statements, instruments, releases and other documents on behalf of the person or entity with respect to

33   such Purchased Assets.

44            13.    The sale of the Purchased Assets is not subject to avoidance by any person or for any

55   reason whatsoever, including, without limitation, pursuant to section 363(n) of the Bankruptcy Code

66   and the Buyer shall not be subject to damages, including any costs, fees, or expenses under section

77   363(n) of the Bankruptcy Code.

88            14.    Subject to Paragraph 6, all entities that are presently, or on the Closing may be, in

99   possession of some or all of the Purchased Assets to be sold, transferred, or conveyed (wherever
10
10   located) to the Buyer pursuant to this Sale Order and the APA are hereby directed to surrender
11
11   possession of the Assets to the Buyer on the Closing Date.
12
12            15.    The Winning Bidder shall fund the payment of the Purchase Price at the Closing by (i)
13
13   transferring to WNB pursuant to payment instructions provided by WNB to the Winning Bidder the
14
14   cash amount of Six Million Four Hundred Thousand Dollars ($6,400,000.00) (the “WNB
15
15   Payment”) which WNB Payment shall be applied by WNB to WNB’s claims against the
16
16   Debtors; and (ii) by title to the Two Million Dollar ($2,000,000.00) deposit that the Winning
17
17   Bidder previously provided to the Debtors’ bankruptcy counsel, Levene, Neale, Bender, Yoo &
18
18   Golubchik L.L.P. (the “Winning Bidder Deposit”), transferring to the Debtors, which cash
19
19   remains subject to WNB’s valid and perfected liens subject only to the Carve Outs set forth
20
20   below.    Levene, Neale, Bender, Yoo & Golubchik L.L.P. (“LNBYG”) shall distribute the
21
21   Winning Bidder Deposit in the manner set forth in Paragraph 16 below.
22
22            16.     Pursuant to and in accordance with the terms of that certain Stipulation Regarding (1)
23
23   Professional Fee And Creditor Carve Outs And (2) Lien Validations, Releases And Surcharge
24
24   Waivers (the “Carve Out Stipulation”) (Doc 195) approved by order of this Court entered on August
25
25   8, 2022 (Doc 253):
26
26                   a.       LNBYG is hereby authorized and directed to continue to maintain $400,000 of
27
27            the Winning Bidder Deposit in a trust account maintained by LNBYG as the initial Carve Out
28
28            for the sole benefit of LNBYG, Kroll, LLC and Michael Zuercher/Law Office of Michael A.


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11          Zuercher, Inc., with such professionals to be authorized to be paid their respective portion of

22          this $400,000 only after such professionals have had their fees and expenses approved by the

33          Court following notice and a hearing;

44                  b.     LNBYG is hereby authorized and directed to pay to Kroll Securities, LLC

55          from the Winning Bidder Deposit the sum of $336,000 as Kroll Securities, LLC’s allowed and

66          earned investment banking fee;

77                  c.     LNBYG is hereby authorized and directed to pay to Duane Morris LLP

88          (“DM”) from the Winning Bidder Deposit the sum of $65,000, which Carve Out shall be paid

99          to DM for the sole benefit of DM into a trust account maintained by DM and may be paid to
10
10          DM only after DM has had its fees and expenses approved by the Court following notice and
11
11          a hearing;
12
12                  d.     LNBYG is hereby authorized and directed to pay to Sheppard Mullin LLP
13
13          (“SM”) from the Winning Bidder Deposit the initial Carve Out in the sum of $100,000 (the
14
14          “SM Carve Out Amount”), which shall be used solely to pay the allowed fees and expenses of
15
15          SM and which shall be paid directly into a trust account maintained by SM for the sole benefit
16
16          of SM, but no portion of the SM Carve Out Amount may be paid to SM until SM has had its
17
17          fees and expenses approved by the Court following notice and a hearing; and
18
18                  e.     LNBYG is hereby authorized and directed to immediately pay the $1,099,000
19
19          balance of the Winning Bidder Deposit to WNB in the manner directed by WNB in writing to
20
20          LNBYG.
21
21          17.     Nothing set forth in this Order shall impact the rights of the parties to the Carve
22
22   Out Stipulation, all of which are expressly reserved, and neither this Order nor the Purchase
23
23   Price amount set forth in this Order shall limit or expand the rights of the parties to the Carve
24
24   Out Stipulation.
25
25          18.     Subject to the provisions hereof, all executory contracts and unexpired leases
26
26   designated by the Winning Bidder prior to the Closing to be assumed and assigned by the
27
27   Debtors to the Winning Bidder shall be deemed assumed by the Debtors and assigned to the
28
28   Winning Bidder effective as of the date of the Closing (the “Closing Date”). All executory


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11   contracts and unexpired leases designated by the Winning Bidder prior to the Closing to be

22   rejected by the Debtors shall be deemed rejected by the Debtors effective as of the Closing Date.

33   The Winning Bidder shall have the right, by written notice to the Debtors no later than one (1)

44   day prior to the Closing Date, to specify that any executory contract and/or unexpired lease that

55   is not an Excluded Asset (other than with respect to any employment contract which must be

66   assumed and assigned to the Winning Bidder or rejected by the Debtors effective as of the

77   Closing Date), under the APA is not to be assumed or rejected as of the Closing Date (the

88   “Designated Contracts”), in which case the Winning Bidder shall be entitled to make its

99   determination as to whether it wants to take an assignment of any such Designated Contracts for
10
10   a period commenced with the day after the Closing Date and continuing until September 27,
11
11   2022 (the “Designation Rights Period”). The Winning Bidder shall be financially responsible
12
12   for, and shall timely pay for, all costs, expenses and obligations arising under the Designated
13
13   Contracts during the Designation Rights Period until such time that the Court enters an order
14
14   providing for the Debtors’ assumption and assignment to the Winning Bidder or the Debtors’
15
15   rejection of such Designated Contracts in accordance with the procedure set forth in Paragraph
16
16   19 below. The Winning Bidder shall have the right to determine that any asset that is the subject
17
17   to any Possessory Lien shall be part of the Excluded Assets, rather than be part of the Purchased
18
18   Assets subject to such Possessory Lien.
19
19          19.     The Winning Bidder has the right to provide LNBYG with written notice at any
20
20   time during the Designation Rights Period of the Winning Bidder’s determination to take an
21
21   assignment of or to effectuate a rejection of any Designated Contracts. Following LNBYG’s
22
22   receipt of any such written notice from the Winning Bidder, LNBYG shall file with the Court
23
23   and serve on the affected counter party a summary notice of the Winning Bidder’s determination
24
24   together with a proposed order providing for such assumption and assignment or rejection
25
25   effective as of the Closing Date. Subject to the provisions hereof, the Designated Contracts shall
26
26   be deemed to have been assumed and assigned to the Winning Bidder or be deemed rejected, as
27
27   the case may be, effective as of the Closing Date. All Designated Contracts for which the
28
28   Winning Bidder has not provided written notice to LNBYG during the Designation Rights


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11   Period shall be automatically deemed rejected effective as of the Closing Date. All of the

22   Debtors’ executory contracts and unexpired leases that have not previously been rejected and

33   that are not assumed and assigned by the Debtors to the Winning Bidder prior to the expiration

44   of the Designation Rights Period will be automatically deemed rejected effective as of the

55   Closing Date without the need for any further order of the Court.

66          20.     The Winning Bidder’s designation of any executory contract or unexpired lease

77   prior to or at the Closing, or during the Designation Rights Period in the manner set forth herein,

88   as an Assigned Contract shall be deemed to constitute an assumption and assignment of such

99   Assigned Contract to the Winning Bidder without further order of this Court provided that the
10
10   Winning Bidder pays (which payment(s) shall be in addition to the Purchase Price) in connection
11
11   with such assumption and assignment the Cure Amount for such Assigned Contract, and the
12
12   Winning Bidder shall have assumed all obligations owing under all such Assigned Contracts
13
13   following the Closing Date. The payment of the Cure Amounts in the amounts set forth in the
14
14   Assumption/Assignment and Cure Notice in connection with the assumption and assignment of
15
15   the Assigned Contracts is hereby deemed the necessary and sufficient amounts to “cure” all
16
16   “defaults” with respect to all such Assigned Contracts under section 365(b) of the Bankruptcy Code.
17
17   The payment by the Winning Bidder of such Cure Amounts to the corresponding counterparties to
18
18   such Assigned Contracts shall (i) effect a cure of all defaults existing under all such Assigned
19
19   Contracts, and (ii) compensate all such counterparties to the Assigned Contracts for any actual
20
20   pecuniary loss resulting from any such default. With the payment by the Winning Bidder of the
21
21   Cure Amounts set forth in the Assumption/Assignment And Cure Notice: (i) the Debtors and the
22
22   Winning Bidder are hereby deemed to have cured, or have provided adequate assurance of cure,
23
23   of any default existing or occurring prior to the Closing under any of the assumed and assigned
24
24   contracts and leases, and the Winning Bidder has provided adequate assurance of its future
25
25   performance of and under the assumed and assigned contracts and leases, (ii) the provisions of
26
26   Section 365(b)(1)(A) of the Bankruptcy Code at the Cure Amounts set forth in the
27
27   Assumption/Assignment And Cure Notice are hereby deemed satisfied, and (iii) it is hereby
28
28   deemed that none of the other parties to the executory contracts and unexpired leases have


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11   suffered any actual pecuniary loss resulting from any default by the Debtors so that no further

22   payments beyond the proposed Cure Amounts are required to enable compliance with the

33   provisions of Section 365(b)(1)(B) of the Bankruptcy Code. The Debtors shall then have assumed

44   and assigned to the Winning Bidder all of the Assigned Contracts, and, pursuant to section 365(f) of

55   the Bankruptcy Code, the assignment by the Debtors of all such Assigned Contracts to the Winning

66   Bidder shall not be a default thereunder. After the payment of the Cure Amounts by the Winning

77   Bidder to the counterparties to the Assigned Contracts, neither the Debtors nor the Winning Bidder

88   shall have any further liabilities to any counterparties to the Assigned Contracts other than the

99   Winning Bidder’s obligations under the Assigned Contracts that accrue and become due and payable
10
10   on or after the Closing Date. In addition, adequate assurance of future performance has been
11
11   demonstrated by or on behalf of the Winning Bidder with respect to all of the Assigned Contracts
12
12   within the meaning of sections 365(b)(1)(c), 365(b)(3) (to the extent applicable) and 365(f)(2)(B) of
13
13   the Bankruptcy Code.       Notwithstanding any of the foregoing, any executory contracts or
14
14   unexpired leases of Oracle or TMA shall not be deemed Assigned Contracts and the respective
15
15   Cure Amounts for Oracle or TMA set forth in the Assumption/Assignment and Cure Notice shall
16
16   not be deemed to bind Oracle or TMA under this Order, except by mutual agreement between
17
17   the Winning Bidder and Oracle and/or TMA, respectively, or further order of the Court.
18
18          21.     All of the counterparties to the Assigned Contracts are forever barred, estopped, and
19
19   permanently enjoined from raising or asserting against the Debtors or the Winning Bidder, or any of
20
20   their property, any assignment fee, acceleration, default, breach, or claim of pecuniary loss, or
21
21   condition to assignment, arising under or related to the Assigned Contracts, existing as of the Closing,
22
22   or arising by reason of the consummation of the Transaction, including, without limitation, the
23
23   Transaction and the assumption and assignment of the Assigned Contracts, including any asserted
24
24   breach relating to or arising out of the change-in-control provisions in such Assigned Contracts, or any
25
25   purported written or oral modification to the Assigned Contracts.
26
26          22.     Any provisions in any Assigned Contract that prohibits or conditions the assignment
27
27   of such Assigned Contract or allow the counterparty to such Assigned Contract to terminate,
28
28   recapture, impose any penalty, condition on renewal or extension or modify any term or condition


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11   upon the assignment of such Assigned Contract constitutes unenforceable anti-assignment provisions

22   that are void and of no force and effect with respect to the Debtors’ assumption and assignment of

33   such Assigned Contract to the Winning Bidder.

44          23.     In connection with the Debtors’ assumption and assignment to the Winning

55   Bidder of Assigned Contracts on the Closing Date, the Winning Bidder shall pay all Cure

66   Amounts on or before the Closing Date. With respect to each of the Assigned Contracts assigned

77   to the Winning Bidder during the Designation Rights Period, the Winning Bidder shall pay all

88   Cure Amounts concurrently with providing the Winning Bidder Assumption Notice.

99          24.     The Winning Back-Up bidder is hereby approved as the back-up bidder with a
10
10   back-up bid of Eight Million Three Hundred Thousand Dollars ($8,300,000.00) (the “Back-Up
11
11   Purchase Price”). If the Winning Bidder is obligated to close the Transaction under the terms of
12
12   the APA but fails to close the Transaction in accordance with the terms and timing of the APA,
13
13   the Winning Bidder shall be deemed to have forfeited the Winning Bidder Deposit to the
14
14   Debtors’ bankruptcy estates as liquidated damages, with the Court to resolve any dispute in this
15
15   regard between the Debtors and the Winning Bidder. LNBYG shall continue to hold the Two
16
16   Million Dollar deposit provided to LNBYG by the Winning Back-Up Bidder (the “Winning
17
17   Back-Up Bidder Deposit”).        Only if the Winning Bidder fails to close the Transaction in
18
18   accordance with the terms and timing of the APA, the sale of the Purchased Assets to the
19
19   Winning Back-Up Bidder (the “Back-Up Transaction”) pursuant to the terms of an asset
20
20   purchase agreement between the Debtors and the Winning Back-Up Bidder (the “Back-Up
21
21   APA”) shall be deemed authorized and approved by this Order. The Debtors shall forthwith
22
22   provide written notice to the Winning Back-Up Bidder (by email to the Winning Back-Up
23
23   Bidder and its counsel) of such failure to close by the Winning Bidder (the “Back-Up Bidder
24
24   Notice”).    The Back-Up Transaction contemplated by the Back-Up APA and other Back-Up
25
25   Transaction Documents between the Debtors and the Winning Back-Up Bidder are deemed by the
26
26   Court to have been undertaken without collusion and in “good faith,” as that term is defined in section
27
27   363(m) of the Bankruptcy Code. The Back-Up Bidder is a good faith purchaser within the meaning
28
28   of section 363(m) of the Bankruptcy Code and, as such, is entitled to the full protections of section


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11   363(m) of the Bankruptcy Code.        Accordingly, the reversal or modification on appeal of the

22   authorization provided herein by this Order to consummate the Back-Up Transaction shall not affect

33   the validity of the sale of the Purchased Assets to the Winning Back-Up Bidder. Only in the event

44   that the Winning Bidder fails to close the Transaction in accordance with the terms and timing of

55   the APA, all findings and terms of this Order that apply to the Winning Bidder shall be deemed

66   to apply to the Winning Back-Up Bidder, and all findings and terms of this Order that apply to

77   the APA or to the Transaction shall be deemed to apply to the Back-Up APA and the Back-Up

88   Transaction respectively, without the need for any further order of the Court. LNBYG will

99   refund the Back-Up Deposit to the Winning Back-Up within three (3) business days following
10
10   the Closing with the Winning Bidder. Upon the Debtors’ delivery of the Back-Up Bidder Notice
11
11   to the Winning Back-Up Bidder, the Back-Up Deposit shall be applied to the Back-Up Purchase
12
12   Price to be paid by the Winning Back-Up Bidder, or forfeited to the Debtors as liquidated
13
13   damages in the event that the Winning Back-Up Bidder fails to close the Back-Up Transaction in
14
14   accordance with the terms and timing of the Back-Up APA. All protections and rights afforded
15
15   to the Winning Bidder in and throughout this Order shall apply equally to the Winning Back Up
16
16   Bidder in the event the Winning Back Up Bidder is authorized to close. In such instance the
17
17   Debtors and the Winning Back Up Bidder shall file an amended Sale Order reflecting the
18
18   Winning Back Up Bidder as the purchaser.
19
19          25.     Within three (3) business days of the entry of this Order, LNBYG shall return to
20
20   bidders other than the Winning Bidder and the Winning Back-Up Bidder (the “Withdrawn
21
21   Bidders”) the deposits provided by such Withdrawn Bidders to LNBYG.
22
22          26.     The terms and provisions of this Order, as well as the rights granted under the
23
23   Transaction Documents, shall continue in full force and effect and are binding upon any successor to
24
24   the Debtors, or chapter 7 or chapter 11 trustee applicable to the Debtors, notwithstanding any such
25
25   conversion, dismissal or order entry. Nothing contained in any chapter 11 plan confirmed in these
26
26   cases or in any order confirming such a plan, nor any order dismissing these cases or converting these
27
27   cases to a case under chapter 7 of the Bankruptcy Code, shall conflict with or derogate from the
28
28   provisions of the APA, any documents or instruments executed in connection therewith, or the terms


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11   of this Order. The provisions of this Order and any actions taken pursuant hereto shall survive any

22   conversion or dismissal of these cases and the entry of any other order that may be entered in these

33   cases, including any order (i) confirming any plan of reorganization; (ii) converting these cases from

44   chapter 11 to chapter 7; (iii) appointing a trustee or examiner in the cases; including for the

55   avoidance of doubt a liquidating trustee appointed for the purpose of administering any remaining

66   estate assets for the benefit of the estates’ creditors; or (iv) dismissing these cases.

77           27.     The Transaction and other Transaction Documents are undertaken without collusion

88   and in “good faith,” as that term is defined in section 363(m) of the Bankruptcy Code. The Winning

99   Bidder is a good faith purchaser within the meaning of section 363(m) of the Bankruptcy Code and, as
10
10   such, is entitled to the full protections of section 363(m) of the Bankruptcy Code. Accordingly, the
11
11   reversal or modification on appeal of the authorization provided herein by this Order to consummate
12
12   the Transaction shall not affect the validity of the sale of the Purchased Assets to the Winning Bidder.
13
13           28.     The failure to specifically include any particular provision of the APA or the other
14
14   Transaction Documents in this Order shall not diminish or impair the effectiveness of such provisions,
15
15   it being the intent of this Court that the Transaction, the APA and the other Transaction Documents be
16
16   authorized and approved in their entirety. Likewise, all of the provisions of this Order are non-
17
17   severable and mutually dependent.
18
18           29.     Notwithstanding Bankruptcy Rules 6004(h), 6006(d), 7062, or 9014, if applicable, or
19
19   any other Local Bankruptcy Rule or otherwise, this Order shall not be stayed for 14-days after the
20
20   entry hereof, but shall be effective and enforceable immediately upon entry pursuant to Bankruptcy
21
21   Rule 6004(h) and 6006(d). Time is of the essence in approving the Transaction (including the transfer
22
22   and the sale of the Purchased Assets).
23
23           30.     The automatic stay pursuant to section 362 is hereby lifted with respect to the Debtors
24
24   to the extent necessary, without further order of this Court, for the Debtors and the Winning Bidder to
25
25   take any and all actions permitted under the APA and the Transaction Documents in accordance with
26
26   the terms and conditions thereof.
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27
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11           31.     After the Closing, the Winning Bidder specifically agrees that the Debtors and any

22   trustee or successor in interest appointed in these cases shall have continuing reasonable access to the

33   Debtors’ books and records as set forth in Section 6.1 of the APA.

44           32.     Unless otherwise provided in this Order, to the extent any inconsistency exists

55   between the provisions of the APA and this Order, the provisions contained in this Order shall govern.

66           33.     This Court shall retain exclusive jurisdiction to interpret, construe, and enforce the

77   provisions of the APA and this Order in all respects, and further, including, without limitation, to (i)

88   hear and determine all disputes between the Debtors and/or the Winning Bidder, as the case may be,

99   and any other non-Debtor party to, among other things, the Assigned Contracts concerning, among
10
10   other things, assignment thereof by the Debtors to the Winning Bidder and any dispute between the
11
11   Winning Bidder and the Debtors as to their respective obligations with respect to any asset, liability,
12
12   or claim arising hereunder; (ii) compel delivery of the Purchased Assets to the Winning Bidder free
13
13   and clear of Encumbrances except for the Possessory Liens; (iii) compel the delivery of the Purchase
14
14   Price or performance of other obligations owed to the Debtors; and (iv) interpret, implement, and
15
15   enforce the provisions of this Order.
16
16   IT IS SO ORDERED.
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17                                                  # # #
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24         Date: August 25, 2022

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